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United States District Court

EASTERN DISTRICT OF VIRGINIA P (| A E p
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UNITED STATES OF AMERICA )
ex rel. JON H. OBERG ) EXANDRIS Ce COURT
Plaintiff, ) A VIRGINIA
)
VS. ) JUDGMENT IN A CIVIL CASE
)
PENNSYLVANIA HIGHER EDUCATION ) CASE NUMBER: 1:07-cv-960
ASSISTANCE AGENCY )
Defendant. )

)

[X] Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

[ ] Decision of the Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in favor of the
Defendant, Pennsylvania Higher Education Assistance Agency.

This Judgment is entered in accordance with the jury verdict dated December 5, 2017.

December 5, 2017
Date

 

 

 

 

 

(By) Deputy Clerk
